Case 1:18-cr-10322-WGY Document 41 Filed 03/31/20 Page 1 of9

BETTY S. CHAIN

Attorney at Law
15233 Ventura Blvd., Ste 1200 I CI EAvOe Aeriac
Sherman Oaks, CA 91403 NENT ee
(818) 789-4273 Fax: (818) 789-7820 bscatty@socal.rr.com

March 26, 2020

Andrew Lilling

U.S. Attorney

John Joseph Moakley US Courthouse
1 Courthouse Way, Ste. 900
Boston, MA 02210

Re: United States v. Robert Chain
Case no. 18-cr-10322-WGyY

Dear Mr. Lilling:

Mr. Chain is no longer represented by the law firm of Quinn
Emmanuel. Please direct all inquiries to my office.

Mr. Chain executed a mortgage on his Califa St. Encino,
California residence as a condition of bail. That mortgage was to
stay in effect until disposition of his case. Mr. Chain entered a
plea and was sentenced on October 2, 2019. He self-surrendered at
Bureau of Prisons, Lompoc, California on November 13, 2019 and was

released on March 11, 2020.

The mortgage is now satisfied and should be released from the

I include a Satisfaction of Mortgage form and a copy of
Please have the satisfaction signed and
it to me for

property.
the recorded mortgage.
notarized by the appropriate party and return

recordation.

Your courtesy and cooperation is greatly appreciated.

 

BSC/ms
ect Clerk of the Court Uv
Case 1:18-cr-10322-WGY Document 41 Filed 03/31/20 Page 2 of 9

RECORDING REQUESTED BY

AND WHEN RECORDED MAIL TO:

Mame Betty S. Chain
Street Robert D. Chain
naese 6 UVS12 Califa St.
City &

mn Encino, CA 91316
Title Order No. Escrow No.

“ipo
~ih jel

HECICE
Ma a

 

 

SPACE ABOVE THIS LINE FOR RECORDER’S USE

SATISFACTION OF MORTGAGE

 

 

Assessor Parcel Number:

KNOW ALL MEN BY THESE PRESENTS, that

 

DO HEREBY CERTIFY that the following Mortgage IS PAID, and do hereby consent that the same be
discharged of record. Mortgage dated _10-8-18 , made by:
Robert D. Chain and Betty S. Chain to
United States of America in the principal
sum of $50,000.00 and recorded 10-12-18 as Instrument No. 29181039705

Book Page in the office of the County Recorder of_Los Angeles- County,

 

State of California, which Mortgage has not been assigned of record.

 

Dated

 

 

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

 

 

 

STATE OF CALIFORNIA
COUNTY OF

 

 

On before me,
(here insert name and title of the officer)

Notary public, personally appeared
who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within
instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by
his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the

instrument.

 

| certify under PENALTY OF PERJURY under the laws of the state of
California that the foregoing paragraph is true and correct.

WITNESS my hand and official seal

Signature

 

(This area for official notanal seal)

 

 
a *
° A
aw

Case 1:18-cr-10322-WGY Documen t41 Filed 03/31/20 Page 3 of 9

This page is part of your document - DO NOT DISCARD A

   

20181039705

a Hl Mt il ml : Un I "se?

orced Filed noni Beles

Ga slifon
10/12/18 AT 09:11AM

 

I
cc

00015831697

En

SEQ:
01

 

LEADSHE

 

 

 

 

 

 

 

 

                                            

 

 

 

 

 

vii

23240005

nter (Upfr

HNN KACO
A

THIS FORM IS NOT TO BE DUPLICATED
Filed 03/31/20 Page 4 of 9

|

 

 

|

 

 

 

 

nevUMvIV CASA LIEGE Ree MAVGY Document 41
_ (Name.and mailing adcrass, including city, state,
_ and ZIP code. of requesting pany)
oe | neous mma
7 gesoe 1) iver
a ' Pals a El SE EE
15233 Ventura Biva #1200 aN i sme
Sherman Oaks, CA 91403 . 20181039705
, SPACE ABOVE THIS NE RESERVED FOR RECORDER'S ise.
DOCUMENT TITLE
_! ABSTRACT OF JUDGMENT BO
L] ACKNOWLEDGMENT OF SATISFACTION OF JUDGMENT.
OTHER (specify): MORTGAGE’ "= * >

RECOROER’S COVER SHEET
Case 1:18-cr-10322-WGY Document 41 Filed 03/31/20 Page 5of9

MORTGAGE

THIS MORTGAGE is made this 8th day of October '
2018, between Robert D. Chain and Betty S. Chain '
presently residing at 17512 Califa St., Encino, CA 91316
(herein "“Mortgagor(s)"), and the Clerk of the United States
District Court for the District of Massachusetts, United States

Courthouse, 1 Courthouse Way, Boston, Massachusetts (herein

"Mortgagee").

WITNESSETH, for consideration paid and to secure a personal bond

of even date for Robert D. Chain (herein
before the United

"Defendant"), in Criminal No. '
States District Court for the District of Massachusetts (herein

"Court"), in the amount of Fifty Thousand dollars

($ 50,000.00 ) Dollars executed by the Defendant and the
~Mortgagor(s) in favor of the United States of America, and to
secure due observance and performance of the obligation, terms,
.and conditions as set forth in an Order Setting Conditions of
Release dated 994-12 , 20 __, and filed with the
Court, and to further secure the performance of all other
covenants and agreements of or by the Defendant and Mortgagor (s)
herein for the benefit of the Mortgagee, which may now exist or
may hereafter exist or accrue while this Mortgage is still
undischarged of record, and in furtherance of and pursuant to an
escrow agreement made this day between the Mortgagor(s), the
United States Attorney for the District of Massachusetts and the
Mortgagee, the Mortgagor(s) hereby mortgage, with power of sale,
the following parcel of real property, with the following

covenants thereon, situate, lying and being in the County of
ies _Angeles , PROReT Hey bios WassggagettsBtate of
and more particularly described in the following deed: California .

A deed from Betty S. Chain
to Robert D. Chain and Betty 5. Chain, Trustees of the Chain Family

“dated «42 4, , 20 , and recorded in the Trust
ete KKK KEK KOK SKK At

County Becket KOUKS:
Book? Anseles——page; Recorder on 5-21-14 as doc. #20140525330

TOGETHER with all the improvements now or hereafter erected on
the property, and all easements, rights, appurtenances, rents
royalties, mineral, oil and gas rights and profits, water, water
rights, and water stock, and all fixtures now or hereafter
attached to the property, all of which, including replacements
and additions thereto, shall be deemed to be and remain a part of
the property covered by this Mortgage; and all of the foregoing,
“together with said property are hereinafter referred to as the

"Property."

 

 
Case 1:18-cr-10322-WGY Document 41 Filed 03/31/20 Page 6 of 9

THE MORTGAGOR(S) covenant with the Mortgagee as follows:

1. That the Mortgagor(s) shall pay the indebtedness as
hereinbefore provided.

2. That the Mortgagor(s) will keep the Property insured against
loss by fire or hazards included within the term "extended
coverage” for the benefit of the Mortgagee; that the Mortgagor(s)
will assign and deliver the policies to the Mortgagee; and that
the Mortgagor(s) will reimburse the Mortgagee for any premiums
paid or insurance made by the Mortgagee on the Mortgagor(s)'s
default in so insuring the Property or in so assigning and
delivering the policies. However, the Mortgagee shall never be
required to maintain insurance of any type or description on the

Property.

3. That the Mortgagor(s) shall keep the Property in good repair
and shall not commit waste or permit impairment or deterioration
of the Property, and no building on the Property shall be removed
or demolished without the consent of the Mortgagee.

4. That the Mortgagor(s) will pay all taxes, assessments or
water rates, and in default thereof, the Mortgagee may, but is
not required to, pay the same. In the event that the Mortgagee
- elects not to pay the same, the Mortgagee is not required to so

notify the Mortgagor(s).

5. That the proceeds of any award or claim for damages, direct
or consequential, in connection with any condemnation or other
taking of the Property, or part thereof, or for conveyance in
lieu of condemnation, said proceeds not to exceed the dollar
amount of the personal bond secured by this Mortgage, shall be
delivered to the Mortgagee, who shall hold such proceeds ina
non-interest bearing escrow account until either
bond has been discharged by the Court, whereupon, and only upon
an order of the Court, the Mortgagee shall deliver said proceeds
to the Mortgagor(s), or (2) the Defendant fails to observe the
Order Setting Conditions of Release and is defaulted by a
judicial officer of the Court, whereupon the proceeds shall be
disbursed for the benefit of the United States of America in
accordance with, and only upon, an order of the Court.

6. That notice and demand or request may be made in writing and
may be served in person or by mail.

7. That the Mortgagor(s) will warrant and defend the title to
the Property against all claims and demands.

8. That the Mortgagor(s) will create no further encumbrances of
any kind against the Property.

9. That the Mortgagor(s), in case a sale shall be made under the
power of sale, will, upon request, execute, acknowledge and
deliver to the purchaser or purchasers a deed or deeds of release
confirming such sale, and that the Mortgagee is appointed and

(A) the personal
Case 1:18-cr-10322-WGY Document 41 Filed 03/31/20 Page 7 of 9

—3-

constituted the attorney irrevocable of the Mortgagor(s) to
execute and deliver to said purchaser a full transfer of all
policies of insurance on the Property at the time of such sale.

10. That the holder of this Mortgage, in any action to foreclose
it, shall be entitled to the appointment of a receiver.

11. Notwithstanding any other agreement between the Mortgagor(s)
and Mortgagee, or any provision of law, the Mortgagee shall not
be required to discharge this Mortgage except upon order of the
Court. It shall be the obligation of the Mortgagor(s) to furnish
the Mortgagee with a certified copy of said order.

IN WITNESS WHEREOF, this Mortgage has been duly executed by the

ROBERT D. CHAIN BETTY § ScHarn

 

 

 

 

COMMONWEALTH OF MASSACHUSETTS

 

SUFFOLK, SS On

Then personally appeared
and acknowledged the foregoing to be free act and deed

before me.

 

 

NOTARY PUBLIC

My Commission Expires:

 

(MORTGAGE FORM.wpd - 05/2001)
Case 1:18-cr-10322-WGY Document 41 Filed 03/31/20 Page 8 of 9

 

A Notary Public or other officer completing this
certificate verifies only the identity of the
individual who Signed the document to which |
this certificate is attached, and not the
truthfulness, accuracy, or validity of the
document,

STATE OF CALIFORNIA

county or 4 _/A\— _|

Ss

On /G- )-2~/ g Before Me _ A(Z@vVO ++ IPREo __, Notary Public
Oe (Insert Name of Notary Public and Title)
KOPPERT 2. CASK © who proved

to be the person whose name is
cknowledged to me that he/she (
capacity, and that by his/her
he entity upon behalf of which

Personally appeared
to me on the basis of Satisfactory evidence,

. subscribed to the within instrument and a
executed the same in his/her authorized
Signature on the instrument the person, or t
the person acted, executed the instrument.

! certify under PENALTY OF PERJURY under the laws of the State of
California that the foregoing Paragraph is true and correct.

 

WITNESS iny hand and official seal.

far YY (NOTARY SEAL)

Notary Signature

 
Case 1:18-cr-10322-WGY Document 41 Filed 03/31/20 Page 9 of 9

 

A Notary Public or other officer completing this
certificate verifies only the identity of the
individual who signed the document to which
this certificate is attached, and not the
truthfuiness, accuracy, or validity of the
document, ,

STATE OF CALIFORNIA

COUNTY OF LA- |

SS

 

On/ 0-f 20 f- BeforeMe NOS8VO FrrRAKD =. s Notary Public
(Insert Name of Notary Public and Title) .
Personally appeared (26771 Ys. CHAI A: who proved

to me on the basis of satisfactory evidence, to be the person whose name is

_ Subscribed to the within instyument and acknowledged to me that hejshe,y/
executed the same in NGfier jutro capacity, and that by hi sixes
signature on the instrumen © person, or the entity upon behalf of which

the person acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of
California that the foregoing Paragraph is true and correct,

 

 

WITNESS my hand and official seal.

Dae a NS (NOTARY SEAL)

Notary Signature

 

"See Gétacked Gcnits
